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EXHIBIT

STATE OF MINNESOTA IN DISTRICT COURT

COUNTY OF WASHINGTON

TENTH JUDICIAL DISTRICT

State of Minnesota,

TRANSCRIPT OF

)
)
Plaintiff, ) PROCEEDINGS
)
-vs- JURY TRIAL
)
BRIAN JEFFREY KROOK, ) Court File No.

) 82-CR-19-2887
Defendant. )

The above-entitled matter came on for JURY

TRIAL before the Honorable Mary A. Yunker, one of the

judges of the Court, the 9th day of March, 2020, and

continuing through the 19th day of March, 2020, in the

Courthouse, in the City of Stillwater, County of

Washington,

APPEARANCES:

State of Minnesota.

Mr. Thomas B. Hatch

Special Assistant County Attorney
345 Wabasha Street North, Suite 120
St. Paul, Minnesota 55102-1432

for the State of Minnesota.
Mr. Andrew R. Johnson
Special Assistant County Attorney
345 Wabasha Street North, Suite 120
St. Paul, Minnesota 55102-1432

for the State of Minnesota.

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JOSHUA JOHN RAMIREZ - DIRECT 613

I said I'd happily call anybody you want. I just need
you to drop the gun. And he wouldn't. He threw me his
cellphone and said it was dead.

Okay. All right, so maybe you should explain to the
jury exactly what a magazine is.

It is an item that goes into the bottom of a handgun
and it holds multiple rounds. And it also helps to put
the next round into the chamber for semiautomatic
weapons.

Okay, and by removing the magazine, what did that mean
as far as how many bullets he might have left?
Potentially it may have one in the chamber.

Okay. So if he did not put the gun down, did he -- did
he change the position of the gun from pointing it at
his head?

He did. I did get him to bring it down to his chest.
He eventually brought it back up to his head.

Did he pretty much keep it pointed at his head the
whole time?

Yes, either his head or his chest. But mostly his
head.

Okay. Did Mr. Evans ever give you any ultimatums, like
if you don't do this, I'm going to do that?

Yes, he had given me a time limit with how long I have

to make a phone call. Otherwise he was going to shoot

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JOSHUA JOHN RAMIREZ - DIRECT 614

himself in the head.

And what happened?

I continued negotiations with him. And I think he
said, one minute, or something like that. It was a
very short amount of time. I was able to deflect him
and he actually forgot all about the timeframe that he
had given us.

Okay. Was he -- was he ever threatening in his tone
towards you?

It was a roller coaster. You know, he was calm one
minute and then he was agitative the next. It was
unpredictable. And so --

But did he ever use any words that were -- that
indicated that he was wanting to threaten you -- he was
threatening you?

No. He never said I was going to hurt you or anybody.
All right. Was there a ballistic shield or bunker
available?

I believe Sgt. Folendorf had retrieved a -- what's
called a bunker or a shield, as most people would
imagine it. And she did bring it over to the -- to my
squad car there to the back. But we never used it.
Okay. How long were you willing to wait for him to put
the gun down?

That I don't know. Maybe I made -- maybe I waited too

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JOSHUA JOHN RAMIREZ - DIRECT 617

Correct.
But nobody behind him?
Correct.
And was he -- when he was turning, was he looking both
to his right and then to his left behind him?
That's how I remember it, yes.
Okay. Did he ever point the gun directly at -- before
the first round of shots were fired -- did he ever
point the gun directly at you or at any other officers?
I don't recall. I mean he didn't do this motion
(indicating). He didn't point the gun at us. I know
that he had -- he had certainly flagged officers to the
north, especially when he was turning. So that's also
cause for concern as well.
Did you say, "flagged officers to the north"?
So when he turns his head and his torso, the trajectory
of the -- of the gun is also sweeping across the street
as well. And he's coming all the way across. So, yes,
I'd say he flagged probably a few people.
Now do you remember giving testimony at the grand jury?
I do.

MR. HATCH: And may I approach the
witness?

THE COURT: You may.

MR. SHORT: I'm going to ask for a page

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JOSHUA JOHN RAMIREZ ~ DIRECT 619

And since your grand jury testimony, you have had some
meetings with defense counsel, correct?

Yes.

And they've suggested some ways in which you could
approach this case?

We have just gone over some things. They never gave me
answers to anything.

All right. Did you have your eyes on Mr. Evans the
whole time that this conversation went on?

Except for the few instances where I had looked back at
Krook or Ramos.

Okay. Did Mr. Evans do anything that caused you to
consider shooting him before that first round of shots?
Yes. So in the grand jury I said "no" to this question
as well. So after thinking about what I had said, the
way I perceived the question was, did he do anything
else, like try to point the gun at us or threaten us
verbally or get up and try to walk towards us? That's
what I was thinking during that questioning. So with
that being said, I did say "no", he didn't. But I also
pointed my gun at him. He had a gun and was pointing
at himself. I don't pull my gun out on every call I go
to. If he -- if there's a reason why I had my gun out,
it's because the suspect or the person involved is

giving me more than ample reason to do so. It's not

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JOSHUA JOHN RAMIREZ - DIRECT 626

the trigger well. The handgun was still to his head.
But he had slumped over slightly, almost like his head
was resting on it, as we moved in.

So he, even after firing -- even after this first round
of shots, he had not separated himself? He had not
been separated from his gun?

Correct.

So he's still a man holding a gun to his head?

Yes.

And that's the same situation that you were in when you
first arrived?

Yes.

And that's the situation that you perceived is one
where you should not approach, correct?

Correct.

All right. So even though Mr. Evans is still with a
gun to his head, Deputy Krook approached, right?

I believe multiple officers approached, not just Deputy
Krook.

Was Deputy Krook the first?

I don't know.

Before the first shots were fired, was there anything
that you saw that would provoke you to fire your
weapon?

I was so focused on just trying to help him that I -- I

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JOSHUA JOHN RAMIREZ - DIRECT 627

didn't.

You didn't see anything?

No, but that doesn't mean that I wasn't at fault for
that either. Maybe there was something that I missed
that Krook saw.

You had your eyes on Mr. Evans?

You're right.

Now did you approach after Deputy Krook approached? I
am talking about --

Around the same time, yes.

I'm talking about after the first round of shots?

Yes.

Okay. And would you describe what happened?

I moved in. I still had my gun drawn on Mr. Evans. I
gave commands to drop the gun. I kept repeating that.
Drop the gun. As we approached, his hand came down in
what appeared to be in my line of sight and that's when
Deputy Krook shot again.

Okay. And you did not shoot?

I did not shoot.

You stepped out of the way?

I reacted and kind of jerked to the left, yes.

Okay. And the gun was not pointed or was -- excuse

me -— was the gun pointed at Deputy Krook as it came

down?

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MICHAEL RAMOS - DIRECT 840

you take over the conversation between law enforcement
and the individual?

For a few minutes, I think, yes.

Okay, was that shortly after you got there?

Yes.

But you only kept doing that for a few minutes?

I think so, yeah.

And why did you stop?

Ramirez took back over.

How did you feel that conversation was going?

He wasn't putting the gun down, so --

Okay, but some progress was being made, right?

He was talking to us. He didn't put the gun down, so I
don't know if it's progress.

He ended up dropping the magazine though, taking it out
and tossing it, right?

Much later, yes.

Okay. And did he say that he was not going to hurt law
enforcement?

He said something to that effect, yes.

In fact he said that over and over and over again,
right?

I couldn't tell you how many times.

He said it more than once?

I think so, yes.

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MICHAEL RAMOS - DIRECT 848

Okay, so when you say flag it, that's all you mean?
Correct. The barrel of the gun is pointed in our
direction.
Okay. When he was moving -- he was moving his body and
his head quite a few times, right?
Correct.
Both to the left and to the right?
I couldn't tell you which direction.
Okay, but it happened way more than three times, right?
I couldn't tell you how many times either. I know he
did move his body.
Okay. And was that causing you concern?
Made me a little nervous, yeah.
Okay, do you remember testifying to the grand jury that
it was not causing you concern?
Not any additional concern, but I'm already concerned
when he's got a gun.
Okay, but at the grand jury you were asked if him
moving his body caused you concern. And your answer
was no, right?

MR. SHORT: Objection, leading, Your
Honor.

THE COURT: Objection sustained.

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MICHAEL RAMOS - DIRECT 849

BY MR. JOHNSON:

Q

Okay, do you recall what you told the grand jury about
whether it concerned you?

Mo" .

I believe I said,
Okay. In fact, did you say that a couple of times?
I couldn't tell you how many times.
Do you recall at the grand jury talking about how
Deputy Krook said to you, that turning is making me
uncomfortable?
I don't know the exact phrase, but being uncomfortable,
yes.
Okay, and you remember that conversation we had at the
grand jury?
Yes.
Okay. And do you remember me asking you if you shared
that discomfort?

MR. SHORT: Objection to the continuing

leading nature of the questions, Your Honor.

THE COURT: Sustained.

BY MR. JOHNSON:

Well, do you recall me asking you that question?
Which question exactly.
Whether you shared Deputy Krook's concern?

I don't remember that exact question, no.

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MICHELLE FOLENDORF - DIRECT 995

If he did, I didn't hear it.

All right. Did you ever tell Deputy Ramirez to stop
the talking and just shoot him?

Absolutely not.

Okay. Did you tell any of the deputies, just take him
out, shoot him?

I would never direct anybody to shoot anybody.

Well, you understand that deadly force may be used when
it's necessary to protect yourself or another from
apparent death or great bodily harm?

I understand that.

So is it fair to say, Sgt. Folendorf, that on your
first assessment here when you approach the rear of
that squad, you did not believe that it was necessary
to use deadly force?

I believed it was necessary but we did not use deadly
force.

You stood behind that squad and did not use deadly
force?

Correct.

And you did that consistent with your training, didn't
you, Sgt. Folendorf?

Unfortunately, yes.

What do you mean, "unfortunately"?

Because where I was standing for me personally, it

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MICHELLE FOLENDORF - DIRECT 996

would not have been tactically responsible to shoot
with two of my partners in between myself and

Mr. Evans. And I say unfortunately, because the lives
of every single person that was out there was put in
jeopardy because we wanted so badly for this young man
to put that gun down and for this to be over with.
Okay. And I -- I'm not questioning that,

Sgt. Folendorf. What I want to know is you did not use
deadly force because you determined that it was not
necessary at that time. That's true, isn't it?

No, I believe it was necessary, but I did not use
deadly force. That's the best way I can describe it.
I should have.

So you -- you were standing there believing that there
was -- and no action was being taken to protect your
deputies from an apparent death or great bodily harm?
Is that your testimony?

I believe action was being taken. Again, I did not --
No, no, no --

MR. TIERNEY: Your Honor, I would object
and I would ask that Mr. Hatch allow her to answer the
question.

THE COURT: I will sustain the
objection, allow her to answer, but the answer has to

be responsive to the question.

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MICHELLE FOLENDORF - DIRECT 997

THE WITNESS: Okay.
THE COURT: Would you restate it again

please, Mr. Hatch?

BY MR. HATCH:

Q

You did not use deadly force because your assessment at
that point was that it was not necessary to protect
yourself or another from apparent death or great bodily
harm; isn't that true?

No, I did not use deadly force because of where I was
positioned behind that squad car.

All right, and so then is your testimony that who was
in a position that could have used deadly force; Deputy
Ramirez?

Deputy Ramirez, Deputy Ramos, and Deputy Krook.

All right. And those three individuals during that
first assessment when you arrived at the rear of the
squad, did not use deadly force --

Correct.

-- right?

Correct.

Were they acting inconsistent or consistent with their
training?

Inconsistent.

Inconsistent?

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MICHELLE FOLENDORF - DIRECT 998

Yes.

They should have shot Mr. Evans?

Unfortunately, yes.

All right. And what you just told us previously was
that you never directed them to shoot him?

Correct.

You are the incident commander in charge of this scene
and you're telling us this is a situation involving
apparent death or great bodily harm, and you did
nothing to protect your deputies under your control at
that moment; is that what you're saying?

I believe I was trying -- it's a difficult question to
answer. I believe I was trying to exhaust all options
and should I have done something different to protect
them? I don't know what that would have been. We all
are trained. We all have to make our own decision
whether or not we pull that trigger, and I would never
direct somebody to do that. That's why I tried some
other things throughout the course of the event.

All right. Both Mr. Ramirez and Mr. Ramos were using
the squad as cover, is that right?

I know Deputy Ramirez was. I can't say for certain
what Deputy Ramos was doing.

Okay. How about Deputy Krook? Was he using cover of

any kind?

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MICHELLE FOLENDORF - DIRECT 1026

MR. HATCH: Thank you.

BY MR. HATCH:

Q

Sgt. Folendorf, where were you when the first volley of
shots were made by Deputy Krook?

I was at the rear of the squad closer to the right
side.

All right, and had you been there for five minutes or
SO?

If I had to guess, yes.

Okay. And before the first round of shots were fired;
did you ever see Mr. Evans point his gun at any of the
law enforcement?

Point it directly at, no. But his head movement caused
the muzzle -- I guess I would call it a laser -- to be
in line with all four of the deputies -- all four of
us.

His head would be between the gun and any of the
deputies, right?

Yes.

Okay, and so you never saw him point -- before the
first volley of shots, you never saw him point the gun
at anyone other than himself?

Correct.

And did Mr. Evans ever say anything to you to suggest

